        Case 4:20-cv-01661 Document 13 Filed on 12/16/20 in TXSD Page 1 of 4




                                    UNITED STATES DISTRICT COURT
                                 FOR THE SOUTHERN DISTRICT OF TEXAS
                                          HOUSTON DIVISION

JEANIE HICKS                                       §
     Plaintiff,                                    §
                                                   §
v.                                                 §       CIVIL ACTION NO. 4:20-cv-1661
                                                   §
CENLAR FSB,                                        §
    Defendants.                                    §

                    DEFENDANT’S DESIGNATION OF TESTIFYING EXPERTS
                             PURSUANT TO RULE 26(a)(2)(B).

          Pursuant to the Court’s Scheduling Order and Federal Rule of Civil Procedure

26(a)(2)(B), CENLAR FSB (“Cenlar” or “Defendant”) hereby serves this Designation of

Testifying Experts as follows:

1.        The following expert is expected to give testimony, under Federal Rule of Civil Evidence

701-705, at the time of trial:

Crystal Gee Gibson
Barrett Daffin Frappier Turner & Engel, LLP
4004 Beltline Rd., Suite 100
Addison, Texas 75001
972-340-7924 ((telephone)
972-341-0734 (facsimile)

          Crystal Gibson has been licensed to practice law in the State of Texas since 2000. She is

licensed in all state courts in the State of Texas and in all federal districts in the State of Texas.

She is also licensed before the Fifth Circuit Court of Appeals and the Federal Circuit.

          Ms. Gibson has practiced extensively in litigation since 2000. She is familiar with

attorneys’ fees charged in cases such as this, in the Western District of Texas, as well as in

Austin, Brazos, Colorado, Fayette, Fort Bend, Grimes, Harris, Madison, Montgomery, San

Jacinto, Walker, Waller, and Wharton Counties. Ms. Gibson is expected to testify regarding the


Defendant’s Designation of Testifying Experts                                                 Page 1 of 4
BDFTE NO. 20110022000927 / Hicks
        Case 4:20-cv-01661 Document 13 Filed on 12/16/20 in TXSD Page 2 of 4




necessity of obtaining counsel in this matter and the reasonableness and necessity of attorneys’

fees incurred in the prosecution and defense of this cause of action. Further, she is expected to

testify as to the reasonableness and necessity, or lack thereof, of any other attorneys’ fees

asserted by any other party in this cause. She is also expected to testify in regard to the possible

attorneys’ fees that might be incurred in the event of appeal to the Fifth Circuit Court of Appeals,

or further appeal to the United States Supreme Court.

          Any and all documents that the expert has reviewed, or will be reviewed, have been

produced, or will be produced, and/or are available for inspection and copying in accordance

with the Federal Rules of Civil Procedure, subject to attorney/client privilege, or such documents

are matter of public record.

2.        Written Reports.

          a.         No reports have been prepared at this time. Defendant will supplement as reports

become available.

          b.         Reports will be supplemented as additional information is revealed during

discovery and Defendant reserves the right to supplement as discovery has not been completed in

this case.

3.        Defendant reserves the right to designate, at or before trial, any expert(s) that have been

or may be designated by any other party to this lawsuit.

4.        Defendant reserves the right to call and/or designate other expert witnesses as rebuttal

witnesses, the need for which and identity of which cannot be reasonably anticipated at this time.

5.        Defendant and its experts reserves the right to utilize all or part of the literature and/or

documents produced, identified or relied upon by any other party’s expert witnesses. Defendant

and its experts reserves the right to utilize the deposition testimony of any other party’s expert



Defendant’s Designation of Testifying Experts                                                 Page 2 of 4
BDFTE NO. 20110022000927 / Hicks
        Case 4:20-cv-01661 Document 13 Filed on 12/16/20 in TXSD Page 3 of 4




witnesses, to the extent such individuals created documents, as fact/expert witnesses, and

Defendant and its designated experts may utilize all such facts, findings, opinions and

recommendations contained within those individual records. Although Defendant does not vouch

for all or part of the deposition testimony which may be given by any other party, any of any

other party’s designated expert witnesses, and/or adverse witnesses, Defendant reserves the right

to utilize the deposition and oral testimony of any expert witnesses designated by any other

party. Defendant and its experts reserves the right to utilize all or part of the literature and/or

documents produced, identified or relied upon by other experts designated by any party hereto.

6.        In addition to the previous individual, Defendant reserves the right to designate any

person, or persons, with knowledge of relevant facts that may be identified by any party to this

cause of action as an expert witness, or who may be designated as an expert witness by any party

to this cause of action in response to discovery propounded to that party by any other party in

this case.

Dated: December 16, 2020

                                                     Respectfully submitted,

                                                     BARRETT DAFFIN FRAPPIER
                                                     TURNER & ENGEL, LLP

                                                       /s/ Crystal Gee Gibson
                                                     Crystal Gee Gibson
                                                     State Bar No. 24027322
                                                     SD No. 706039
                                                     4004 Belt Line Rd., Suite 100
                                                     Addison, Texas 75001
                                                     (972) 340-7901
                                                     (972) 341-0734 (Facsimile)
                                                     CrystalR@bdfgroup.com

                                                     ATTORNEY FOR DEFENDANT




Defendant’s Designation of Testifying Experts                                              Page 3 of 4
BDFTE NO. 20110022000927 / Hicks
        Case 4:20-cv-01661 Document 13 Filed on 12/16/20 in TXSD Page 4 of 4




                                                CERTIFICATE OF SERVICE

        On December 16, 2020 I certify that a copy of the foregoing was served as indicated to
the following:

VIA E-SERVICE: JHICKS4403@GMAIL.COM
Jeanie Hicks
4403 Ebbtide Drive
Houston, Texas 77045
Plaintiff, Pro Se

                                                              /s/ Crystal Gee Gibson
                                                             Crystal Gee Gibson




Defendant’s Designation of Testifying Experts                                            Page 4 of 4
BDFTE NO. 20110022000927 / Hicks
